 

Case 1:20-cv-06356-GBD Document 18

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

NELSIDA GONZALEZ,
Plaintiff,
-against-
CITY WORLD AUTOMOTIVE HOLDINGS;
CITY WORLD AUTO GROUP LLC; CITY
WORLD TOYOTA; YADEL MORALES, in his
individual capacity;

Defendants.

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GEORGE B. DANIELS, United States District Judge:

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ORDER
20 Civ. 6356 (GBD)

This Court having been advised that the parties have reached a settlement in principle on

all issues in this matter, the Clerk of Court is hereby ORDERED to close the above-captioned

action, without prejudice to restoring the action to this Court’s docket if an application to restore

is made within thirty (30) days.

All conferences previously scheduled are adjourned sine die.

Dated: January 21, 2021
New York, New York

SO ORDERED.

 

CAPR . DANIELS
ited es District Judge

 

 
